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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

         RANDALL N. FERRELL and                           §
         BEVERLY A. FERRELL,                              §
                                                          §
              Plaintiffs,                                 §
                                                          §
         v.                                               §     Civil Action No. 4:22-cv-426-ALM-KPJ
                                                          §
         AVT TITLE SERVICES, LLC et al.,                  §
                                                          §
              Defendants.                                 §

                                                      ORDER

              Pending before the Court is Defendant Wells Fargo Bank, National Association’s 1

     (“Defendant”) Motion to Withdraw as Co-Counsel (the “Motion”) (Dkt. 12). In the Motion,

     Defendant requests that Erica M. Lux, only, be permitted to withdraw as counsel in this matter.

.    See Dkt. 12. Defendant represents Adam Nunnallee will continue to represent Defendant in this

     matter. See id. Upon consideration, the Motion (Dkt. 12) is hereby GRANTED.

              IT IS ORDERED that Erica M. Lux is withdrawn as counsel of record for Defendant.

     Adam Nunnallee will remain counsel of record for Defendant.

              So ORDERED and SIGNED this 13th day of July, 2022.




                                                      ____________________________________
                                                      KIMBERLY C. PRIEST JOHNSON
                                                      UNITED STATES MAGISTRATE JUDGE




     1
      Defendant Wells Fargo Bank, National Association has appeared as Wells Fargo Bank, National Association, as
     Trustee for Option One Mortgage Loan Trust 2006-2, Asset-Backed Certificates, Series 2006-2. See Dkts. 9, 12.
